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AO 245C(Rev. 02/16) Amended Judgment in a Criminal Case                                                 (NOTE: Identify Changes with Asterisks (*))

                                         UNITED STATES DISTRICT COURT
                                                              Southern District of Indiana

                 UNITED STATES OF AMERICA                                      AMENDED JUDGMENT IN A CRIMINAL CASE

                                        v.
                                                                               Case Number: 3:02CR00002-016
                                                                               USM Number: 24935-112

                        JOSE RICARDO VIGIL                                     Pro Se
                                                                               Defendant’s Attorney
 Date of Original Judgment: 1/6/2004
 (Or Date of Last Amended Judgment)


Reason for Amendment:
 ☐ Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))       ☐ Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
 ☐ Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P.     ☒ Modification of Imposed Term of Imprisonment for Extraordinary and Compelling
    35(b))                                                                 Reasons (18 U.S.C. § 3582(c)(1))
 ☐ Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))   ☐ Modification of Imposed Term of Imprisonment for Retroactive Amendment(s) to
                                                                           the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
 ☐ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)     ☐ Direct Motion to District Court Pursuant ☐28 U.S.C. § 2255 or ☐18 U.S.C. §
                                                                           3559(c)(7)
                                                                         ☐ Modification of Restitution Order (18 U.S.C. § 3664)


THE DEFENDANT:
☐ pleaded guilty to count(s)
☐ pleaded nolo contendere to count(s) which was accepted by the court.
☒ was found guilty on count(s) 1 after a plea of not guilty
The defendant is adjudicated guilty of these offense(s):
         Title & Section                     Nature of Offense                                                  Offense Ended                Count
  21 U.S.C. §§ 841(a)(1) and 846             Conspiracy to Possess with Intent to Distribute and to               6/12/2001                    1
                                             Distribute in Excess of 500 Grams of Methamphetamine

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐ Count(s) dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.
                                                                            7/21/2016
                                                                            Date of Imposition of Sentence:

                 A CERTIFIED TRUE COPY
                 Laura A. Briggs, Clerk                                          Hon.__________________________________
                                                                                      Judge Richard L. Young, Chief Judge
                 U.S. District Court                                                 RICHARD
                                                                                 United States L.  YOUNG,
                                                                                                 District     CHIEF JUDGE
                                                                                                            Court
                 Southern District of Indiana                                        United States District Court
                                                                                 Southern  District
                                                                                     Southern Districtof  Indiana
                                                                                                      of Indiana

                 By                                                                7/25/2016
                                       Deputy Clerk
                                                                                 Date
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                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of Time Served.*

☐The Court makes the following recommendations to the Bureau of Prisons:


☐The defendant is remanded to the custody of the United States Marshal.

☐The defendant shall surrender to the United States Marshal for this district:
         ☐ at
         ☐ as notified by the United States Marshal.
☐The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         ☐ before 2 p.m. on
         ☐ as notified by the United States Marshal.
         ☐ as notified by the Probation or Pretrial Services Office.


                                                               RETURN

I have executed this judgment as follows:


        Defendant was delivered on ___________________________ to ______________________________________
at ________________________________, with a certified copy of this judgment.

                                                                        ________________________________________
                                                                               UNITED STATES MARSHAL

                                                                        BY: ___________________________________
                                                                              DEPUTY UNITED STATES MARSHAL
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                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.

☐ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
  substance abuse. (Check, if applicable.)
☒ The defendant shall not possess a firearm, destructive device, or other dangerous weapon.
☒ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
☐ The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16913, et
  seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
  resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
☐ The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions listed below as well as any special conditions on the
attached page.

                                          STANDARD CONDITIONS OF SUPERVISION

    1.  The defendant shall not leave the judicial district without the permission of the Court or probation officer.
    2.  The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
        days of each month.
    3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
    4. The defendant shall support his dependents and meet other family responsibilities.
    5. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
        other acceptable reasons.
    6. The defendant shall notify the probation officer at least 10 days prior to any change in residence or employment.
    7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.
    8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
    9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
        convicted of a felony, unless granted permission to do so by the probation officer.
    10. The defendant shall permit a probation officer to visit him at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view by the probation officer.
    11. The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer.
    12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
        the permission of the Court.
    13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
        confirm the defendant’s compliance with such notification requirement.
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                                            SPECIAL CONDITIONS OF SUPERVISION


    1.    The defendant shall provide the probation officer access to any requested financial information.

    2. The defendant shall participate in a program of testing and/or treatment for substance abuse and shall pay a portion
       of the fees of treatment as directed by the probation officer.

    3. The defendant shall submit to the search of his person, vehicle, office/business, residence and property, including
       any computer systems and peripheral devices with the assistance of other law enforcement as necessary. The
       defendant shall submit to the seizure of contraband found by the probation officer. The defendant shall warn other
       occupants the premises may be subject to searches.




I understand that I and/or the probation officer may petition the Court to modify these conditions, and the final decision to
modify these terms lies with the Court. If I believe these conditions are being enforced unreasonably, I may petition the
Court for relief or clarification; however, I must comply with the directions of my probation officer unless or until the Court
directs otherwise. Upon a finding of a violation of probation or supervised release, I understand that the court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the condition of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



 (Signed)
                           Defendant                                                                Date


                           U.S. Probation Officer/Designated Witness                                Date
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                                                CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties in accordance with the schedule of payments set forth
in this judgment.

                               Assessment                         Fine                            Restitution

 TOTALS                        $100.00

☐ The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO245C) will be
  entered after such determination.

☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
   all nonfederal victims must be paid before the United States is paid.

       Name of Payee                        Total Loss                   Restitution Ordered                  Priority or Percentage



 Totals


☐ Restitution amount ordered pursuant to plea agreement $

☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
  before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
  Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

   ☐ the interest requirement is waived for the ☐ fine ☐ restitution

   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                                                    SCHEDULE OF PAYMENTS


Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A   ☐ Lump sum payment of $ _____ due immediately, balance due
      ☐      not later than _____, or
      ☐      in accordance with       ☐ C, ☐ D, ☐ E, or ☐ F below; or

B   ☒ Payment to begin immediately (may be combined with ☐ C, ☐ D, ☐ F or ☐ G below); or

C   ☐ Payment in equal ____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or years),
      to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D   ☐ Payment in equal _____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or years),
      to commence ______ (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E   ☐ Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F   ☐ If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the restitution
      ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the amount of loss, and
      the defendant's liability for restitution ceases if and when the victims receive full restitution.

G   ☐ Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐        Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.



☐        The defendant shall pay the cost of prosecution.

☐        The defendant shall pay the following court cost(s): _____

☐        The defendant shall forfeit the defendant’s interest in the following property to the United States:
